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                   IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

              v.
                                                       No. 1:21-cr-175 (TJK)
DOMINIC PEZZOLA,

                     Defendant.

DEFENDANT PEZZOLA’S MOTION IN LIMINE REGARDING CERTAIN
DOCUMENTS ALLEGEDLY SEIZED AT PEZZOLA’S RESIDENCE

      Comes now the Accused DOMINIC PEZZOLA (“Pezzola”), by undersigned

counsel, and hereby moves this honorable Court for an order prohibiting the United

States from introducing testimony or evidence at trial regarding certain documents

allegedly found during a January 2021 search of Pezzola’s New York residence.

      This motion pertains to two items: (1) an alleged Proud Boy initiation ceremony

manual, and (2) documents allegedly on a flash drive constituting a library of ‘Anarchist

Cookbook’-type literature.



   1) The “Proud Boys Meet-Up Stations of the Congregation”
      Government’s Exhibit 25 (as photographed at Exhibit 64) is a document labelled

“Proud Boys Meet-Up Stations of the Congregation.” It was allegedly recovered during

the search of Dominic Pezzola’s residence. A scan of the document is attached.

      The government will assert that the document is some type of internal Proud Boy

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instruction or ceremonial manual. Pages 6-8 address the “degree” ranking of the Proud

Boys. During a pre-trial hearing in December, the Court reserved ruling on the details

of the fourth degree and invited defendants to make arguments regarding the

document’s admissibility.

      The document is bizarre and humorous in some places, and intensely politically

incorrect in others. The document seems to have little or nothing to do with this case

(aside from merely making Pezzola out to be low-level Proud Boy member, which

Pezzola does not deny and which other evidence (e.g., patches and other memorabilia)

readily attests). Any probative value is vastly outweighed by the unfairly prejudicial and

misleading nature of the document.

      In a Sunday afternoon email, counsel for the government states: “We assert that

this document is highly probative of, inter alia, Dominic Pezzola’s knowledge and state

of mind with respect to membership and advancement in the Proud Boys.” Yet the

government does not appear to contend that Pezzola ever read or spoke of the

document.

      This “Proud Boys Meet-Up Stations of the Congregation” document:

   1. Is unsigned;

   2. Is unattributed regarding authorship and contains no byline;

   3. Is plainly hearsay;

   4. Is lacking of any ‘Proud Boy’ embossing or other marks of authenticity;




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       5. Is    1:21-cr-00175-TJK
             without                 Document
                     any writing, signature      643 Filed
                                            of receipt      01/23/23
                                                       or other       Page
                                                                evidence    3 of 6 chain-
                                                                         of receipt,

       of-custody or possession by Pezzola or any codefendant (aside from the mere

       fact of being located at Pezzola’s New York address);

       6. Is lacking any evidence that anyone—let alone defendant Pezzola—has read

       the document;

       7. Bears no connection in logic to the claims in the indictment; and

       8. Bears no connection between Pezzola and any other codefendant.

   2) Any probative value is vastly outweighed by unfair prejudice, likelihood of
      confusion, and likelihood of misleading the jury.
   For the reasons stated above, defendant objects on authenticity, relevance, hearsay,

materiality and (unless some foundation is laid) foundation grounds. But in addition to

these objections, defendant also objects on 403 grounds. The document is riddled with

politically incorrect remarks and assertions which would cause most or many Americans

to recoil in anger, hatred and disgust.

       Just a few examples:
       1) The document speaks of “parasites both on the streets and in the White
          House”
       2) “This is about rebuilding the patriarchy.”
       3) “This is just a hate fact. America was not stolen from the Indians and it
          was not built on slavery.”
       4) “All other cultures are not merely different than us. They are worse.”
       5) “No more Spanish schools or Chinese schools.”
       6) “No Wanks
            A Proud Boy may not ejaculate alone more often than once
     every thirty days. That means he must abstain from pornography
     during that time and if he needs to ejaculate it must be within one
     yard of a woman with her consent. The woman may not be a
     prostitute.
            “This is our religion and our pope is the religion’s founder,
     Dante Nero.”
   These bizarre remarks, and many others in the document, can do nothing but
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confuse and mislead the jury and stoke jurors’ religious, racial, and political animosity

against defendants. These statements have utterly no probative value and do not

pertain to any element of the indictment.

   3) Flashdrive containing various “Anarchist” publications, weapons manuals
      and explosive ‘how-to’ books.
      In a previous filing relating to Pezzola’s detention, the government asserted that

FBI “[a]gents recovered, from a room that appeared to be used exclusively by the

defendant, a thumb drive that contained hundreds of .pdf files” including some pdfs

which “provide detailed instructions for making homemade firearms, poisons, and/or

explosives.” A sample of titles includes, but is not limited to:

(1) multiple serials of a series entitled “Advanced Improvised Explosives,” those serials

including “Explosive Dusts” and “Incendiaries;” (2) “The Box Tube MAC-11,” with

subtitle, “The Ultimate DIY Machine Pistol;” (3) “Ragnar’s Big Book of Homemade

Weapons;” and (4) “The Advanced Anarchist’s Arsenal: Recipes for Improvised

Incendiaries and Explosives.”

      All of the above examples, according to the government, “contain detailed

instructions for how to make the subject matter reflected in their titles, and they are but

four of hundreds of similarly titled .pdf files on the recovered thumb drive.”

      This evidence is highly inflammatory, misleading and unfairly prejudicial, given

that Pezzola never read any of these documents. This flashdrive was given to Pezzola

only recently at the time of Jan. 6 (by an individual whose name now appears on the

government’s witness list). At no time did Pezzola ever even plug this flashdrive into

his computer.
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       The government cannot ‘plant’ evidence into someone’s residence, and then

‘seize’ the evidence under a search warrant so as to prejudice the individual in court. In

the true context of how this flash drive came to be in Pezzola’s possession, it is plainly

obvious that the probative value is greatly outweighed by unfair prejudice to Pezzola.

       In any case it would not be unusual or probative of anything to find that a former

soldier in the United States Marine Corps possessed books or catalogs about firearms,

military equipment or munitions. Unfair prejudice will result, however, if the jury is

treated to these titillating titles in the context of this criminal case; especially where no

munitions are alleged to be involved.

       The government will present no information or evidence that Pezzola relied

upon any of these books or documents in executing his alleged crime or crimes. Any

introduction of these titles or documents will be designed to further smear and falsely

taint Pezzola in the eyes of the jury.

                                     CONCLUSION
       For all the foregoing reasons, defendant Pezzola asks the Court to prohibit any

introduction by the United States of the above-described documents and materials into

this case.



                                            Respectfully Submitted,

                                            /s/ Roger I. Roots

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                          CERTIFICATE OF SERVICE

 I hereby certify that on January 23, 2022, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the
District of Columbia.
                                       /s/ Roger I. Roots




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